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                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                )
                                                )       Case No. 21-cv-0135
In re Clearview AI, Inc. Consumer Privacy       )
Litigation,                                     )       Judge Sharon Johnson Coleman
                                                )
                                                )

                                               ORDER

        The Court, in its discretion, denies plaintiffs’ Federal Rule of Civil Procedure 12(f) motion to

strike paragraphs 17 through 21 of defendants’ counterclaim [330].

                                          BACKGROUND

        In their first amended consolidated class action complaint, plaintiffs bring claims under the

Illinois Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”), along with other

statutory and common law claims. Particular to their BIPA claim, plaintiffs allege the Clearview

defendants’ conduct violated their privacy rights and that defendants’ use of their biometric

information was without their knowledge and consent. Plaintiffs specifically allege that the

Clearview defendants covertly scraped billions of photographs of facial images from the internet and

then used artificial intelligence algorithms to scan the face geometry of each individual depicted to

harvest the individuals’ unique biometric identifiers and corresponding biometric information. In

doing so, the Clearview defendants created a searchable database used by law enforcement agencies

and private entities.

        In the counterclaim, defendants bring a claim for declaratory judgment alleging that as a

government contractor, Clearview’s current operations are exempted by BIPA § 25(e), which states:

“Nothing in this Act shall be construed to apply to a contractor, subcontractor, or agent of a State

agency or local unit of government when working for that State agency or local unit of

government.” 740 ILCS 14/25(e). Clearview includes allegations in relation to different law
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enforcement agencies successfully using its database to apprehend child predators and suspects in

the January 6, 2021 capitol attacks, among others. Clearview further alleges that the Ukrainian

government is using its database to defend against the Russian invasion.

                                        LEGAL STANDARD

        Rule 12(f) provides that a district court “may strike from a pleading an insufficient defense

or any redundant, immaterial, impertinent, or scandalous matter.” Fed.R.Civ.P. 12(f). “Allegations

may be stricken as scandalous if the matter bears no possible relation to the controversy or may

cause the objecting party prejudice.” Talbot v. Robert Matthews Distrib. Co., 961 F.2d 654, 664 (7th Cir.

1992). Otherwise, “federal courts are reluctant to disturb the pleadings unless the allegations

confuse the issues in the case.” 5C Charles Alan Wright & Arthur R. Miller, Federal Practice &

Procedure § 1382 (3d ed. 2004). District courts have considerable discretion when ruling on

Rule 12(f) motions. Royce v. Michael R. Needle P.C., 950 F.3d 939, 952 (7th Cir. 2020).

                                            DISCUSSION

        In their motion to strike, plaintiffs argue that in a transparent effort to present evidence that

has no bearing on any claim, counterclaim, or defense in this lawsuit, Clearview includes various

allegations that speak to the positive law enforcement uses of its biometric technology. Plaintiffs

maintain the allegations that Clearview’s database has been used to apprehend child predators and

suspects in the January 6, 2021 capitol attacks, along with Clearview’s role in helping defendant

Ukraine from Russia, are immaterial, impertinent, and inflammatory. Plaintiffs also argue that these

allegations confuse the issues and are prejudicial.

        To say that Clearview is laying it on a bit too thick by including these allegations would be an

understatement. That said, these allegations are not so unrelated to their counterclaim that they are

“void of merit or unworthy of any consideration.” VitalGo, Inc. v. Kreg Therapeutics, Inc., 370

F.Supp.3d 873, 880 (N.D. Ill. 2019) (Dow, J.). Rather, these allegations explain several successful


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results of when law enforcement agencies use the Clearview database, albeit in an overly dramatic

fashion.

          Plaintiffs utilize a similar dramatic tone when they argue that in asserting these allegations,

defendant “seeks to divert attention from its unlawful pilfering and use of the biometric data of

billions of people and focus that attention on anecdotal tales.” Plaintiffs’ argument that defendants’

allegations are a “ transparent effort to present evidence in this matter” fares no better. This case is

nowhere near a jury trial, due in part to the parties’ unrelenting motion practice. Once the Court

sets a trial date, the parties will have ample time to address evidentiary issues in their motions in

limine.

IT IS SO ORDERED.

Date: 6/2/2022

                                                  Entered: _____________________________
                                                           SHARON JOHNSON COLEMAN
                                                           United States District Judge




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